898 F.2d 147Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Adam STARCHILD, Plaintiff-Appellant,v.CECIL COUNTY DETENTION CENTER, Defendant-Appellee.
    No. 89-7206.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 30, 1989.Decided:  March 7, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, District Judge.  (C/A No. 89-115-R)
      Adam Starchild, appellant pro se.
      Robert Valliant Jones, for appellee.
      D.Md.
      AFFIRMED.
      Before PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Adam Starchild appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Starchild v. Cecil County Detention Center, C/A No. 89-115 (D.Md. July 20, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    